           Case 1:19-cv-02173-CJN Document 44 Filed 11/11/19 Page 1 of 19



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


DONALD J. TRUMP,

              Plaintiff,

      v.                                             Civil Action No. 1:19-cv-02173 (CJN)

COMMITTEE ON WAYS AND MEANS,
UNITED STATES HOUSE OF
REPRESENTATIVES, et al.,

              Defendants.


                                 MEMORANDUM OPINION

       On July 8, 2019, New York’s governor signed the Tax Returns Released Under Specific

Terms Act (“TRUST Act”) into law. Am. Compl., Dkt. 30, ¶ 61; see also N.Y. Tax Law

§ 697(f-1), (f-2) (2019) (codifying the TRUST Act). The TRUST Act amends New York’s tax

laws to authorize the chairperson of one of three congressional committees, including the House

Committee on Ways and Means, to request the New York state tax returns of the President of the

United States, among other elected officials. Tax § 697(f-1). If that request is made in writing

and certain requirements are met, the Commissioner of the New York State Department of

Taxation and Finance (“Commissioner”) is required to produce the records to the relevant

committee. Id.

       To date, no committee chairperson has made such a request. On July 23, 2019, however,

citing concerns that the Chairman of the House Ways and Means Committee might soon attempt

to employ the TRUST Act to procure his New York returns, Donald J. Trump filed this action.

See generally Compl., Dkt. 1. Mr. Trump alleges that any request made for his state tax returns

would violate Article I of the U.S. Constitution and the Rules of the U.S. House of


                                                1
         Case 1:19-cv-02173-CJN Document 44 Filed 11/11/19 Page 2 of 19



Representatives. Id. ¶¶ 69–72. And he alleges that the TRUST Act violates the First

Amendment because it was enacted to discriminate and retaliate against his politics and speech.

Id. ¶¶ 73–76.

       Mr. Trump also filed an Emergency Application for Relief Under the All Writs Act.

Dkt. 6; see also 28 U.S.C. § 1651 (2018) (permitting courts to “issue all writs necessary or

appropriate in aid of their respective jurisdictions”). Mr. Trump’s Emergency Application seeks

to preserve the status quo by preventing the disclosure of his state tax returns while the Parties

litigate the legality of a request for them, if and when such a request is made.

       Following briefing and argument on the Emergency Application, as well as submissions

from the Parties regarding how the case should proceed, the Court largely adopted the New York

Defendants’ proposal that the Court “rule on [their personal jurisdiction and venue] defenses as a

threshold matter in consideration for which the Commissioner [would] voluntarily agree to defer

responding to any Committee request for a period of one week following the Court’s ruling.”

Joint Status Report, Dkt. 22, at 4. The Court thus ordered that (1) the New York Defendants

could, on an expedited basis, move to dismiss the Complaint for lack of personal jurisdiction and

improper venue; (2) the New York Defendants would not transmit any of Mr. Trump’s tax

information that Chairman Neal might request while that motion is pending and for a period of

one week from the day of the Court’s decision on the motion; and (3) the New York Defendants

would notify the Court if Chairman Neal made such a request during that same period. Order

(Aug. 1, 2019), Dkt. 25, at 3–4. Thereafter, the New York Defendants moved to dismiss for lack

of personal jurisdiction and improper venue, and that motion is fully briefed. See generally N.Y.

Defs.’ Mot. to Dismiss Am. Compl. for Lack of Personal Jurisdiction & Improper Venue




                                                  2
         Case 1:19-cv-02173-CJN Document 44 Filed 11/11/19 Page 3 of 19



(“Mot.”), Dkt. 36; Pl.’s Mem. of P. & A. in Opp’n to N.Y. Defs.’ Mot. (“Opp’n”), Dkt. 37;

N.Y. Defs.’ Reply Mem. of Law in Further Supp. of Their Mot. (“Reply”), Dkt. 39.

       For the reasons that follow, the Court concludes that it does not presently have

jurisdiction over either New York Defendant. Mr. Trump bears the burden of establishing

personal jurisdiction, but his allegations do not establish that the District of Columbia’s long-arm

statute is satisfied here with respect to either Defendant. Mr. Trump has also not demonstrated

that jurisdictional discovery is warranted. Mr. Trump may renew his claims against the New

York Defendants should future events trigger one or more provisions of the D.C. long-arm

statute, and he may, of course, sue either New York Defendant in another forum (presumably in

New York).

                                               Background

       New York law generally requires that state tax returns be held confidentially and permits

their disclosure in only certain enumerated exceptions. See, e.g., Tax § 697(e) (secrecy

requirement); id. § 697(f) (permitting disclosure to cooperate with certain U.S. and state

proceedings). The TRUST Act adds another exception. It authorizes the chairpersons of the

Committee on Ways and Means of the U.S. House of Representatives (“Committee”), the

Committee on Finance of the U.S. Senate, and the Joint Committee on Taxation to request from

the Commissioner “any current or prior year [state tax] reports or returns” of “the president of

the United States, vice-president of the United States, member of the United States Congress

representing New York state” or other public official enumerated in the statute. Id. § 697(f-1).

Such a request must “certif[y] in writing”: (1) that the requested tax “reports or returns have

been requested related to, and in furtherance of, a legitimate task of the Congress”; (2) that the

requesting committee has “made a written request to the United States secretary of the treasury




                                                 3
         Case 1:19-cv-02173-CJN Document 44 Filed 11/11/19 Page 4 of 19



for related federal returns or return information, pursuant to 25 U.S.C. [§] 6103(f)”; and (3) that

any inspection or submission to another committee or to the full U.S. House of Representatives

or Senate be done “in a manner consistent with federal law.” Id. § 697(f-2). Assuming the

request includes those certifications, the Commissioner must produce the requested returns with

redactions for “any copy of a federal return (or portion thereof) attached to, or any information

on a federal return that is reflected on, such report or return.” Id. § 697(f-1).

       On July 23, 2019, following media reports of increasing pressure on Chairman Neal to

request Mr. Trump’s state tax returns, see Compl. ¶¶ 6, 62–68, Mr. Trump filed this action

against New York Attorney General Letitia James, Commissioner Michael R. Schmidt

(collectively, “New York Defendants”), and the Committee. See generally id. Mr. Trump

asserts two claims. In Count I, he claims that a request under the TRUST Act would violate

Article I of the U.S. Constitution and the Rules of the House because the request for his New

York state tax returns would lack a legitimate legislative purpose. Am. Compl. ¶¶ 73–76. In

Count II, Mr. Trump claims that the TRUST Act itself violates the First Amendment and that the

Committee and New York Defendants would violate his First Amendment rights by employing it

to produce his state tax returns to the Committee. Id. ¶¶ 77–81. Count II is the only claim

asserted against the New York Defendants. Id.

       Mr. Trump also filed an Emergency Application for Relief Under the All Writs Act,

asking the Court “to preserve the status quo” to prevent his claims from becoming ripe and then

moot almost instantaneously without notice to him or the Court, thereby depriving the Court of

jurisdiction. Mem. of P. & A. in Supp. of Pl.’s Emergency Appl. for Relief Under the All Writs

Act, Dkt. 6-1, at 5–6. Following briefing and oral argument on the Emergency Application, the

Court ordered the Parties to meet and confer in light of the Court’s stated goals of (1) “ensuring




                                                   4
           Case 1:19-cv-02173-CJN Document 44 Filed 11/11/19 Page 5 of 19



that Mr. Trump’s claims do not become moot before they can be litigated”; (2) “treading as

lightly as possible, if at all, on separation of powers and Speech or Debate Clause concerns”; and

(3) “adjudicating . . . this dispute only when it is actually ripe and has a fuller record than

presently exists.” July 29, 2019 Hr’g Tr., Dkt. 23, at 53–54; see Min. Order (July 29, 2019).

          The Parties were unable to reach agreement and instead filed alternative proposals for

how the case should proceed. The New York Defendants, for their part, proposed that the

Commissioner would not respond to any request for Mr. Trump’s tax returns while the Court

considered and ruled on their forthcoming motion to dismiss for lack of personal jurisdiction and

improper venue. Joint Status Report, Dkt. 22, at 4. The Court largely adopted this proposal and,

on August 1, 2019, ordered that (1) the New York Defendants could move to dismiss the

Complaint for lack of personal jurisdiction over them and for improper venue on an expedited

basis; (2) “during the pendency of the New York Defendants’ Motion and for a period of one

week from the Court’s decision . . . , the New York Defendants shall not deliver to the

Committee any information concerning Mr. Trump that may be requested by Chairman Neal

under the TRUST Act”; and (3) the New York Defendants shall notify the Court if Chairman

Neal made a request during that same one-week time period. Order (Aug. 1, 2019), Dkt. 25,

at 3–4.

          After the New York Defendants filed their initial Motion to Dismiss, Mr. Trump filed an

Amended Complaint that asserts the same two substantive claims as his original Complaint, but

adds as defendants Chairman Neal and Andrew Grossman, the Committee’s Chief Tax Counsel,

and adds factual allegations related to the New York Defendants’ connections to this forum. See

generally Am. Compl. The New York Defendants renewed their Motion to Dismiss on August

29, 2019.




                                                   5
         Case 1:19-cv-02173-CJN Document 44 Filed 11/11/19 Page 6 of 19



                                              Legal Standard

       A federal court has jurisdiction over a defendant “who is subject to the jurisdiction of a

court of general jurisdiction in the state where the district court is located.” Fed. R. Civ. P.

4(k)(1)(A). Thus, if a District of Columbia court could exercise jurisdiction over the New York

Defendants, then so can this Court. E.g., West v. Holder, 60 F. Supp. 3d 190, 193 (D.D.C. 2014).

       There are two types of personal jurisdiction: “[1] general or all-purpose jurisdiction[]

and [2] specific or case-linked jurisdiction.” Goodyear Dunlop Tires Operations, S.A. v. Brown,

564 U.S. 915, 919 (2011). “For an individual, the paradigm forum for the exercise of general

jurisdiction is the individual’s domicile.” Daimler AG v. Bauman, 571 U.S. 117, 137 (2014).

Specific jurisdiction, on the other hand, “aris[es] out of or relate[s] to the defendant’s contacts

with the forum.” Id. at 127 (quoting Helicopteros Nacionales de Colombia, S.A. v. Hall,

466 U.S. 408, 414 n.8 (1984)).

       With respect to specific jurisdiction, the Court “must engage in a two-part inquiry: . . .

first examine whether jurisdiction is applicable under the [D.C.] long-arm statute and then

determine whether a finding of jurisdiction satisfies the constitutional requirements of due

process.” GTE New Media Servs. Inc. v. BellSouth Corp., 199 F.3d 1343, 1347 (D.C. Cir. 2000)

(citation omitted). The D.C. long-arm statute authorizes specific jurisdiction “over a person,

who acts directly or by an agent, as to a claim for relief arising from” certain contacts that person

may have with the forum. D.C. Code § 13-423(a) (2019). As relevant here, a defendant’s

contacts with the District of Columbia can establish specific jurisdiction if the claim arises from




                                                  6
           Case 1:19-cv-02173-CJN Document 44 Filed 11/11/19 Page 7 of 19



the defendant’s:

               (1)     transacting any business in the District of Columbia;

               ...

               (3)     causing tortious injury in the District of Columbia by an act
                       or omission in the District of Columbia; [or]

               (4)     causing tortious injury in the District of Columbia by an act
                       or omission outside the District of Columbia if he
                       [i] regularly does or solicits business, [ii] engages in any
                       other persistent course of conduct, or [iii] derives substantial
                       revenue from goods used or consume, or services rendered,
                       in the District of Columbia.

§ 13-423(a). “When jurisdiction over a person is based solely upon this section, only a claim for

relief arising from acts enumerated in [subsection 13-423(a)] may be asserted against him.”

§ 13-423(b).

       Even if a plaintiff satisfies the D.C. long-arm statute, jurisdiction over a defendant must

still fall “within the permissible bounds of the Due Process Clause.” GTE New Media, 199 F.3d

at 1347. “In other words, a plaintiff must show ‘minimum contacts’ between the defendant and

the forum establishing that ‘the maintenance of the suit does not offend traditional notions of fair

play and substantial justice.’” Id. (quoting Int’l Shoe Co. v. Washington, 326 U.S. 310, 316

(1945)).

       A plaintiff bears the burden of establishing personal jurisdictional over each defendant.

First Chi. Int’l v. United Exch. Co., 836 F.2d 1375, 1378 (D.C. Cir. 1988); Pinkett v.

Dr. Leonard’s Healthcare Corp., No. 18-1656, 2019 WL 1992904, at *2 (D.D.C. May 6, 2019)

(“[T]he requirements for personal jurisdiction ‘must be met as to each defendant.’” (quoting

Rush v. Savchuk, 444 U.S. 320, 332 (1980)). “In determining whether such a basis exists, factual

discrepancies appearing in the record must be resolved in favor of the plaintiff.” Crane v.

N.Y. Zoological Soc’y, 894 F.2d 454, 456 (D.C. Cir. 1990) (citation omitted). However, “a court


                                                  7
         Case 1:19-cv-02173-CJN Document 44 Filed 11/11/19 Page 8 of 19



need not accept the plaintiff’s ‘conclusory statements’ or ‘bare allegations’ regarding the

defendant’s actions in a selected forum.” Shaheen v. Smith, 994 F. Supp. 2d 77, 81 (D.D.C.

2013) (citing GTE New Media, 199 F.3d at 1349).

                                                  Analysis

       Mr. Trump concedes that the allegations in the Amended Complaint do not establish

general jurisdiction for the New York Defendants. See Sept. 18, 2019 Hr’g Tr., Dkt. 40, at 64.

Mr. Trump must therefore establish that specific jurisdiction exists for each Defendant.

       It is an open question in this Circuit whether, for jurisdictional purposes, a suit like this

one against state officers sued in their official capacities for prospective relief, see Ex parte

Young, 209 U.S. 123, 155–56 (1908), should be considered a suit against state officers in their

individual capacities or instead as a suit against the state itself. See West, 60 F. Supp. 3d at 196

(noting the open question). But the D.C. Circuit has held that the District of Columbia’s

long-arm statute does not apply to states themselves. United States v. Ferrara, 54 F.3d 825,

831–32 (D.C. Cir. 1995).1 Accordingly, Mr. Trump’s only avenue to satisfy the long-arm statute

is to demonstrate that, if treated as individuals, each New York Defendant is subject to personal

jurisdiction in the District of Columbia.

                                      A.      Subsection (a)(1)

       Mr. Trump contends that subsection (a)(1) of the long-arm statute—which permits a D.C.

court to exercise personal jurisdiction over a claim arising out of a person’s “transacting any

business in the District of Columbia,” D.C. Code § 13-423(a)(1)—is satisfied here with respect

to both the Commissioner and the Attorney General. To invoke this provision, a plaintiff must


1
 If treated as the state for jurisdictional purposes, the New York Defendants might “retain their
sovereign immunity from private suits brought in [D.C. courts].” Franchise Tax Bd. of Cal. v.
Hyatt, 139 S. Ct. 1485, 1492 (2019).


                                                   8
         Case 1:19-cv-02173-CJN Document 44 Filed 11/11/19 Page 9 of 19



show that a defendant has intentionally engaged in a “commercial or business-related activity”

that was directed at D.C. residents. Capel v. Capel, 272 F. Supp. 3d 33, 39 (D.D.C. 2017)

(quoting Holder v. Haarmann & Reimer Corp., 779 A.2d 264, 270–71 (D.C. 2001)).2 Mr.

Trump has not alleged such activities.

       Mr. Trump’s First Amendment claim focuses primarily on the passage of the TRUST

Act. See Am. Compl. ¶¶ 77–81 (asserting that the TRUST Act “was enacted to retaliate against

[Mr. Trump] because of his policy positions, his political beliefs, and his protected speech”).

But Mr. Trump does not argue that the Commissioner or Attorney General transacted business in

the District of Columbia through the New York legislature’s enactment of the TRUST Act. Nor

could he. Mr. Trump does not allege that either New York Defendant had any involvement

whatsoever in the legislative process that led to the TRUST Act. And even if Mr. Trump alleged

that either New York Defendant was involved in the legislative process, he cites no authority for

the proposition that enacting or helping to enact a state statute in another state would constitute

“transacting business” in the District of Columbia under subsection (a)(1).

       Mr. Trump instead argues that the Commissioner would transact business in the District

of Columbia by “[c]orresponding with Congress and sending tax returns to a committee.” See

Opp’n at 19. The Commissioner has not taken any such actions—at least not yet. But more

importantly, the acts of corresponding with the Committee and transmitting Mr. Trump’s state

tax returns would not constitute transacting business under section (a)(1). In Holder v.


2
  “[F]or cases that fit within its description,” subsection (a)(1) “has been held ‘to be coextensive
. . . with the Constitution’s due process limit.” Forras v. Rauf, 812 F.3d 1102, 1106 (D.C. Cir.
2016) (quoting Crane v. Carr, 814 F.2d 758, 762 (D.C. Cir. 1987)). In other words, if a
defendant “has purposefully engaged in some type of commercial or business-related activity
directed at District residents,” Holder, 779 A.2d at 270–71 (citation omitted), then a D.C. court
may exercise jurisdiction over that defendant to the full extent of what the Due Process Clause
permits.



                                                  9
        Case 1:19-cv-02173-CJN Document 44 Filed 11/11/19 Page 10 of 19



Haarmann & Reimer Corp., the D.C. Court of Appeals made clear that to satisfy section (a)(1)

“the plaintiff must show that the defendant has purposefully engaged in some type of commercial

or business-related activity directed at District residents.” 779 A.2d at 270–71 (citing Shoppers

Food Warehouse v. Moreno, 746 A.2d 320, 330–31 (D.C. 2000) (en banc)). The D.C. Circuit

echoed this requirement in Forras v. Rauf, 812 F.3d at 1106, and D.C. and federal courts have

consistently interpreted section (a)(1) to require a commercial or business activity. For example,

subsection (a)(1) applies to negotiating or performing contracts, e.g., Helmer v. Doletskaya,

393 F.3d 201, 206–07 (D.C. Cir. 2004) (compiling cases), contractual activities that occur

outside the district if they cause some consequence here, Mouzavires v. Baxter, 434 A.2d 988,

992 (D.C. 1981), and advertising inside the District, Shoppers Food Warehouse, 746 A.2d at

330–32. See also IMAPizza, LLC v. At Pizza Ltd., 334 F. Supp. 3d 95, 111 (D.D.C. 2018)

(surveying acts that fall inside and outside the scope of subsection (a)(1)). Mr. Trump has not

pointed to any decision holding that corresponding with a congressional committee and sending

it information (or any similar act) would constitute a commercial or business activity.3




3
  The D.C. Court of Appeals, whose decisions on the long-arm statute bind this Court, has
recognized a “government contacts” exception to the long-arm statute. See Envtl. Research
Int’l, Inc. v. Lockwood Greene Eng’rs, Inc., 355 A.2d 808, 813 (D.C. 1976) (en banc) (“To
permit our local courts to assert personal jurisdiction over nonresidents whose sole contact with
the District consists of dealing with a federal instrumentality not only would pose a threat to free
public participation in government, but also would threaten to convert the District of Columbia
into a national judicial forum.” (footnote omitted)); see also Capel, 272 F. Supp. 3d at 40
(precluding “the assertion of personal jurisdiction over a non-resident whose only contact with
the District of Columbia is with Congress or a federal agency” (quoting Dooley v. United Techs.
Corp., 786 F. Supp. 65, 75 (D.D.C. 1992), abrogated on other grounds by FC Inv. Grp. LC v.
IFX Mkts., Ltd., 529 F.3d 1087 (D.C. Cir. 2008))). Even if corresponding with Congress and
sending tax returns to a congressional committee constituted “transacting business,” the
government contacts exception would likely apply. But because Mr. Trump does not meet his
burden of establishing that subsection (a)(1) is satisfied here, the Court need not reach the
government-contacts question.


                                                 10
        Case 1:19-cv-02173-CJN Document 44 Filed 11/11/19 Page 11 of 19



        Mr. Trump argues that Attorney General James’s role in enforcing the TRUST Act falls

within subsection (a)(1). See Opp’n at 19. But the Attorney General does not appear to have a

role in responding to a request under the statute, which is the only act that Mr. Trump contends

would constitute a commercial or business activity sufficient to satisfy subsection (a)(1). Id.

at 18–19. Instead, the sole responsibility to respond to a request from Congress lies with the

Commissioner. See Tax § 697(f-1).

        To be sure, Mr. Trump attempts to connect Attorney General James to the TRUST Act by

emphasizing that there are other provisions in “New York tax law generally, and its disclosure

rules specifically,” that “are enforced by the Attorney General.” Opp’n at 5 (citing to various

provisions of New York tax law). None of those provisions, however, requires Attorney General

James to take any part in the possible transmission of Mr. Trump’s state tax returns to Congress.4

                                      B.      Subsection (a)(3)

        Mr. Trump also attempts to establish personal jurisdiction over the New York Defendants

under subsection (a)(3), which is satisfied if a defendant “caus[es] tortious injury in the District

of Columbia by an act or omission in the District of Columbia.” D.C. Code § 13-423(a)(3).

“Subsection (a)(3) ‘is a precise and intentionally restricted tort section, . . . which stops short of

the outer limits of due process, . . . and which confers jurisdiction only over a defendant who

commits an act in the District which causes injury in the District, without regard to any other



4
  In his Amended Complaint, Mr. Trump also points to Attorney General James’s litigation
activity in the District, which arguably satisfies subsection (a)(1). See, e.g., Turner v. Abbott,
53 F. Supp. 3d 61, 67 (D.D.C. 2014) (“Defendant’s participation in litigation in the District of
Columbia District Court arguably constitutes ‘transacting business’ in the District of Columbia
. . . .”). But to satisfy the long-arm statute, Mr. Trump’s alleged injury would have to arise out of
that litigation, see D.C. Code § 13-423(b), a claim he does not make. See Turner, 53 F. Supp. 3d
at 67–68 (“[T]his Court does not have specific jurisdiction over Defendant because Plaintiff’s
claim did not arise from [Defendant’s participation in litigation] in the District.”).



                                                  11
        Case 1:19-cv-02173-CJN Document 44 Filed 11/11/19 Page 12 of 19



contacts.” Forras, 812 F.3d at 1107 (second emphasis added) (quoting Moncrief v. Lexington

Herald-Leader Co., 807 F.2d 217, 221 (D.C. Cir. 1986)).

       As to the Commissioner, Mr. Trump argues that if the Commissioner produces his state

tax returns to the Committee, Mr. Trump would be injured in the District of Columbia. Even

assuming that Mr. Trump would suffer that injury here,5 subsection (a)(3) also requires that the

injury be caused by an “act or omission in the District of Columbia.” D.C. Code § 13-423(a)(3).

At this time, Mr. Trump does not (and cannot) allege that the Commissioner’s act of transmitting

information to the Committee will definitely occur in the District. Mr. Trump correctly notes the

Commissioner might take certain acts in the District, such as by “personally deliver[ing his]

returns to the Committee or testif[ying] about them here.” Opp’n at 21. Such acts, if taken,

could be enough to satisfy subsection (a)(3). But speculation that they might occur is insufficient

to exercise jurisdiction over the Commissioner now. See GTE New Media, 199 F.3d at 1349

(rejecting “conclusory statements and intimations” as the basis of meeting the requirements of

the D.C. long-arm statute); cf. Capital Bank Int’l Ltd. v. Citigroup, Inc., 276 F. Supp. 2d 72, 77

(D.D.C. 2003) (“Nor does the plaintiff indicate how its claims relate to any activities by

defendants . . . in the District other than a single hopeful statement that check-processing by

defendants . . . ‘could very well’ occur in the District [and fulfill D.C. Code subsection

13-423(b)’s requirements]. Such a speculative statement does not satisfy the requirements of the


5
 The New York Defendants argue that the transmission of Mr. Trump’s tax records to the
Committee would not injure him at all, see Reply at 12–13, but do not argue that if Mr. Trump
suffers an injury it would occur in some other jurisdiction.

The Court does note that Mr. Trump apparently has changed his primary residence from New
York to Florida. Andrew Restuccia, Trump Says He Is Adopting Florida as Primary Residence,
Wall St. J. (Oct. 31, 2019, 11:28 PM ET), https://www.wsj.com/articles/trump-says-he-is-
adopting-florida-as-primary-residence-11572574793. But he also lists the White House as one
of his residences. Id.



                                                 12
        Case 1:19-cv-02173-CJN Document 44 Filed 11/11/19 Page 13 of 19



District’s long-arm statute.” (citations omitted)). And as to Attorney General James, Mr. Trump

does not allege that she will be involved in providing his tax records to the Committee, let alone

that she would do so through an act taken in the District.

                                      C.      Subsection (a)(4)

       Finally, Mr. Trump contends that his allegations satisfy subsection (a)(4) of the long-arm

statute. Unlike subsection (a)(3), which applies when a tortious act occurs within the District,

subsection (a)(4) “permits an exercise of jurisdiction over a tortious act or omission committed

outside the District that causes injury within the District.” Forras, 812 F.3d at 1107 (emphasis

added) (citing D.C. Code § 13-423(a)(4)). But subsection (a)(4) has a significant limitation: it

applies “if, and only if, the defendant ‘[i] regularly does or solicits business, [ii] engages in any

other persistent course of conduct, or [iii] derives substantial revenue from . . . services rendered

in the District.’” Id. (emphasis added) (quoting D.C. Code § 13-432(a)(4)).

               [U]nder (a)(4), the act outside/impact inside the forum is the basis
               for drawing the case into the court, but because the harm-generating
               act (or omission) occurred outside, the statute calls for something
               more. The ‘something more’ or ‘plus factor’ does not itself supply
               the basis for the assertion of jurisdiction, but it does serve to filter
               out cases in which the inforum impact is an isolated event and the
               defendant otherwise has no, or scant, affiliations with the forum.

Carr, 814 F.2d at 763 (citations omitted).

       Mr. Trump has not alleged that Attorney General James will take an act outside of the

District that would cause him injury here, so subsection (a)(4) is not satisfied as to James. With

respect to the Commissioner, Mr. Trump has certainly pleaded that, by sending his state tax

returns to Congress, the Commissioner would “caus[e] tortious injury in the District of Columbia

by an act . . . outside the District of Columbia.” Opp’n at 22 (quoting D.C. Code

§ 13-423(a)(4)). But Mr. Trump also must meet the requirements of the subsection’s “plus

factors.”


                                                  13
        Case 1:19-cv-02173-CJN Document 44 Filed 11/11/19 Page 14 of 19



       Mr. Trump argues that the persistent-course-of-conduct “plus factor” is satisfied. Id.

at 22–23. But despite subsection (a)(4)’s lenient standard, Mr. Trump does not meet his burden.

To be sure, “[u]nder (a)(4), the business done or persistent course of conduct ‘plus factor’ is

satisfied by connections considerably less substantial than those it takes to establish general,

all-purpose ‘doing business’- or ‘presence’-based jurisdiction.” Carr, 814 F.2d at 763 (citations

omitted). Further, “subsection (a)(4) contemplates a connection that may be unrelated to the

claim in suit.” Id. (citation omitted). But Mr. Trump’s brief on this point is wholly conclusory;

it does not identify a single act taken by the Commissioner that would satisfy this plus factor.

See Opp’n at 22–23.

       Looking past Mr. Trump’s brief, the allegations in the Amended Complaint also do not

establish a persistent course of conduct by the Commissioner in the District. Mr. Trump alleges

that the Commissioner resided and worked in the District between 2011 and 2012 when he

served as a policy analyst in the U.S. Department of Treasury and that the Commissioner served

as an economic policy advisor to the 2016 Clinton campaign. Am. Compl. ¶ 17. Mr. Trump

does not allege that the Commissioner had any connection whatsoever to the District of

Columbia while he served as an economic policy advisor for the 2016 Clinton campaign

headquartered in Brooklyn, New York. And living and working in the District of Columbia for

the Department of the Treasury seven years prior to the passage of the TRUST Act and the

present lawsuit can hardly be considered a persistent course of conduct here because those acts

have long since ended. See Burman v. Phx. Worldwide Indus., Inc., 437 F. Supp. 2d 142, 153

(D.D.C. 2006) (“The minimum contacts that are required for . . . engaging in a persistent course

of conduct should ‘at least be continuing in character.’” (quoting McFarlane v. Esquire

Magazine, No. 92-0711, 1994 WL 510088, at *4 (D.D.C. June 8, 1994)). That the




                                                 14
         Case 1:19-cv-02173-CJN Document 44 Filed 11/11/19 Page 15 of 19



Commissioner may act in 2019 or later renders his temporary residence in the District between

2011 and 2012 remote and hardly “persistent.”6 In sum, these allegations, taken together, do not

establish a persistent course of conduct by the Commissioner in the District of Columbia

sufficient to satisfy subsection (a)(4).

                                  D.       Conspiracy Jurisdiction

        Mr. Trump also argues that he can establish personal jurisdiction under subsection (a)(3)

through a “conspiracy jurisdiction” theory. Opp’n at 22. Assuming this theory of jurisdiction is

available under D.C. law,7 to satisfy it, “the plaintiff must allege ‘(1) the existence of a civil

conspiracy . . . , (2) the defendant’s participation in the conspiracy, and (3) an overt act by a

co-conspirator within the forum, subject to the long-arm statute, and in furtherance of the

conspiracy.’” FC Inv. Grp., 529 F.3d at 1096 (quoting Kopff v. Battaglia, 425 F. Supp. 2d 76,

81 n.4 (D.D.C. 2006)).

        Mr. Trump argues that the New York Defendants “are the Congressional Defendants’

co-conspirators” and that, as a result, “the New York Defendants will have ‘caus[ed] tortious


6
 Mr. Trump points to the litigation activities of Attorney General James when discussing the
persistent-course-of-conduct “plus factor” under subsection (a)(4). Opp’n at 23. However, with
no act by the Attorney General that would cause Mr. Trump’s alleged harm (the production of
his state tax returns to the Committee), it does not matter that the Attorney General may have
engaged in a persistent course of conduct in the District.
7
  The D.C. Court of Appeals has not expressly recognized the conspiracy theory of personal
jurisdiction. See Eric T. v. Nat’l Med. Enters., Inc., 700 A.2d 749, 756 n.12 (D.C. 1997)
(“Federal courts in the District ‘have applied the conspiracy theory of the jurisdiction warily,’
and there is a substantial question, which we do not attempt to resolve, as to whether the
Superior Court has personal jurisdiction over certain defendants in these cases.” (internal
citations omitted)); see also Edmond v. U.S. Postal Serv. Gen. Counsel, 949 F.2d 415, 427 n.1
(D.C. Cir. 1991) (Silberman, J., concurring in part and dissenting in part) (“We have not yet been
told by the District of Columbia Court of Appeals—whose interpretations of the D.C. long-arm
statute are of course binding—whether [subsection] 13-423(a)(3) encompasses the conspiracy
theory . . . .”). But because Mr. Trump has not adequately pleaded such a conspiracy, the Court
need not decide whether it is a viable theory under D.C. law.


                                                  15
         Case 1:19-cv-02173-CJN Document 44 Filed 11/11/19 Page 16 of 19



injury in the District of Columbia by an act . . . in the District of Columbia.’” Opp’n at 22

(quoting D.C. Code § 13-423(a)(3)). But nowhere in his Amended Complaint does Mr. Trump

allege the existence of a conspiracy; in fact, the word “conspiracy” does not even appear in his

pleadings. See Jungquist v. Sheikh Sultan Bin Khalifa Al Nahyan, 115 F.3d 1020, 1031

(D.C. Cir. 1997) (establishing personal jurisdiction under a conspiracy theory requires that “the

plaintiff . . . plead with particularity ‘the conspiracy as well as the overt acts within the forum

taken in furtherance of the conspiracy.’” (quoting Dooley, 786 F. Supp. at 78)); LG Display Co.

v. Obayashi Seikou Co., 919 F. Supp. 2d 17, 27 (D.D.C. 2013) (“Here, LG . . . makes no mention

of conspiracy in its complaint, and it is doubtful whether the facts alleged therein might support

the inference that a conspiracy existed.”). See generally Am. Compl.

        In any event, the Amended Complaint’s factual allegations do not establish conspiracy

jurisdiction under subsection (a)(3). Mr. Trump argues that a conspiracy can be inferred from

his allegations that “Chairman Neal must submit a request [to the Commissioner], Chairman

Neal must certify that certain conditions are satisfied, the Commissioner must prepare the returns

and make the necessary redactions, and the parties must work together to deliver and discuss the

returns.” Opp’n at 22. But these allegations merely establish a relationship created via statutory

authority, which, without more, does not amount to a conspiracy. Cf. FC Inv. Grp., 529 F.3d at

1098 (holding that allegations that only establish a business relationship between defendants—

without demonstrating any further evidence of a conspiracy—failed to establish personal

jurisdiction).




                                                  16
        Case 1:19-cv-02173-CJN Document 44 Filed 11/11/19 Page 17 of 19



                                          *       *       *

       For these reasons, Mr. Trump has not established that any provision of the District of

Columbia’s long-arm statute is satisfied as to either New York Defendant.8

                                 E.      Jurisdictional Discovery

       Mr. Trump also argues that he is entitled to jurisdictional discovery. “[I]n order to get

jurisdictional discovery a plaintiff must have at least a good faith belief that such discovery will

enable it to show that the court has personal jurisdiction over the defendant.” Caribbean Broad.

Sys. Ltd. v. Cable & Wireless, PLC, 148 F.3d 1080, 1090 (D.C. Cir. 1998). “[A] request for

jurisdictional discovery cannot be based on mere conjecture or speculation,” FC Inv. Grp.,

529 F.3d at 1094 (citing Bastin v. Fed. Nat’l Mortg. Ass’n, 104 F.3d 1392, 1396 (D.C. Cir.

1997)), and “[a] plaintiff may not use jurisdictional discovery to ‘conduct a fishing expedition in

the hopes of discovering some basis of jurisdiction,’” Nuevos Destinos, LLC v. Peck, No.

15-cv-1846, 2019 WL 78780, at *13 (D.D.C. Jan. 2, 2019) (quoting In re Papst Licensing GmbH



8
  Exercising jurisdiction over New York state officials would also raise state sovereignty and
federalism concerns. Mr. Trump—who apparently considered New York his primary residence
until recently, when he changed it to Florida, Restuccia, supra—seeks to hale New York state
officials into federal court in the District of Columbia to litigate the constitutionality of a New
York state tax statute. Other courts have been cautious to permit similar suits to proceed. See,
e.g., Marshall v. Labor & Indus., Wash., 89 F. Supp. 2d 4, 10 (D.D.C. 2000) (“Principles of
comity dictate that [determining whether a Washington State agency properly administrated
Washington State’s workers’ compensation law] should be decided by a Washington court, not
the United States District Court for the District of Columbia.”). And some courts have gone so
far as to hold that haling officials from other states into federal courts outside of their home
states violates the Due Process Clause. E.g., Stroman Realty, Inc. v. Wercinski, 513 F.3d 476,
489 (5th Cir. 2008) (reversing the district court’s exercise of jurisdiction over a nonresident
Arizona official in holding that the Due Process Clause not only “‘protect[s] the defendant
against the burdens of litigating in a distant or inconvenient forum’; [it] also ‘ensure[s] that the
States through their courts, do not reach out beyond the limits imposed on them by their status as
coequal sovereigns in a federal system.’” (quoting World-Wide Volkswagen Corp. v. Woodson,
444 U.S. 286, 292 (1980))). Because Mr. Trump has not demonstrated that any provision of the
District’s long-arm statute is satisfied here, the Court need not reach this question.



                                                 17
        Case 1:19-cv-02173-CJN Document 44 Filed 11/11/19 Page 18 of 19



& Co. KG Litig., 590 F. Supp. 2d 94, 101 (D.D.C. 2008)). Further, “a plaintiff must make a

‘detailed showing of what discovery it wishes to conduct or what results it thinks such discovery

would produce.’” Williams v. ROMARM, 187 F. Supp. 3d 63, 72 (D.D.C. 2013) (quoting

Atlantigas Corp. v. Nisource, Inc., 290 F. Supp. 2d 34, 53 (D.D.C. 2003)).

       Mr. Trump has not established that jurisdictional discovery is warranted. Mr. Trump’s

strongest case is that subsections (a)(3) or (a)(4) of the D.C. long-arm statute would be satisfied

in the event that the Commissioner takes certain steps to comply with a request from Chairman

Neal. See supra pp. 11–15. But with respect to subsection (a)(4), Mr. Trump has not made a

sufficiently strong claim that that subsection’s “plus factors” are met, such that discovery into

those plus factors would be warranted. And with respect to subsection (a)(3), jurisdiction over

the Commissioner will turn entirely on how the Commissioner responds in the future to a

request. Discovery, at this time, is unlikely to shed any light on that question.

       Mr. Trump also fails to “make a ‘detailed showing of what discovery [he] wishes to

conduct or what results [he] thinks such discovery would produce.’” Williams, 187 F. Supp. 3d

at 72 (quoting Atlantigas, 290 F. Supp. 2d at 53). Instead, he makes general statements about

wishing to conduct discovery into the New York Defendants’ potential contacts with the District

and into the alleged coordination between Attorney General James and the House to disclose

Mr. Trump’s financial information. See Opp’n at 9–11. “Such ‘generalized’ requests and

‘predictions are not enough to justify jurisdictional discovery.’” Nuevos, 2019 WL 78780, at *14

(quoting Atlantigas, 290 F. Supp. 2d at 53).

                                                Conclusion

       Based on the current allegations, Mr. Trump has not met his burden of establishing

personal jurisdiction over either of the New York Defendants. The Court therefore need not




                                                 18
        Case 1:19-cv-02173-CJN Document 44 Filed 11/11/19 Page 19 of 19



reach the question of proper venue. Accordingly, the New York Defendants’ Motion to Dismiss

is GRANTED, and Mr. Trump’s Amended Complaint is DISMISSED without prejudice as to

them. Mr. Trump may press his claims against the New York Defendants in this Court should

future events support the exercise of personal jurisdiction over them, or he may opt to pursue

those claims in an appropriate forum. An Order will be entered contemporaneously with this

Memorandum Opinion.




DATE: November 11, 2019
                                                            CARL J. NICHOLS
                                                            United States District Judge




                                               19
